






Opinion issued May 31, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00365-CV






APPROXIMATELY $ 20,986.00, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 55th District Court

Harris County, Texas

Trial Court Cause No.  2006-14271






MEMORANDUM OPINION	Appellant Robert E. Kennard has failed to timely file a brief.  See Tex. R. App.
P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Bland.


